Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 1 of 32 PageID #: 292
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 2 of 32 PageID #: 293
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 3 of 32 PageID #: 294
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 4 of 32 PageID #: 295
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 5 of 32 PageID #: 296
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 6 of 32 PageID #: 297
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 7 of 32 PageID #: 298
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 8 of 32 PageID #: 299
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 9 of 32 PageID #: 300
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 10 of 32 PageID #: 301
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 11 of 32 PageID #: 302
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 12 of 32 PageID #: 303
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 13 of 32 PageID #: 304
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 14 of 32 PageID #: 305
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 15 of 32 PageID #: 306
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 16 of 32 PageID #: 307
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 17 of 32 PageID #: 308
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 18 of 32 PageID #: 309
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 19 of 32 PageID #: 310
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 20 of 32 PageID #: 311
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 21 of 32 PageID #: 312
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 22 of 32 PageID #: 313
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 23 of 32 PageID #: 314
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 24 of 32 PageID #: 315
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 25 of 32 PageID #: 316
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 26 of 32 PageID #: 317
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 27 of 32 PageID #: 318
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 28 of 32 PageID #: 319
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 29 of 32 PageID #: 320
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 30 of 32 PageID #: 321
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 31 of 32 PageID #: 322
Case 1:06-cr-00006-TBR Document 79 Filed 12/15/06 Page 32 of 32 PageID #: 323
